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                            EXHIBIT A
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                       SETTLEMENT AGREEMENT AND RELEASE

       This Settlement Agreement and Release (the “Settlement Agreement”) is entered into by

and between Plaintiff Christy Griffith (“Griffith” or “Plaintiff”), for herself and the Settlement

Class Members (as defined below), on the one hand, and ContextMedia Health, LLC,

(“ContextMedia” or “Defendant”), on the other hand. This Settlement Agreement is intended to

resolve the claims and defenses in Griffith v. ContextMedia Health, LLC, No. 1:16-cv-02900

(United States District Court, Northern District of Illinois) (the “Action”). Plaintiff and

Defendant are referred to collectively in this Settlement Agreement as the “Parties.”

                                       I.       RECITALS

       1.01    On March 7, 2016, Griffith filed a one-count putative Class Action Complaint in

the United States District Court for the Northern District of Illinois, alleging violations of the

Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”), arising from certain

texts allegedly made and sent by, or on behalf of, ContextMedia. Griffith subsequently amended

her pleadings, culminating in the filing of a Third Amended Class Action Complaint and Jury

Demand, on January 12, 2018 (the “Complaint”).

       1.02    The Parties have engaged in significant in person, telephonic, and written

communication, arms-length negotiations, wherein the Parties have reached a settlement in

principle. Based on their investigation and negotiations, which included Class Counsel’s

extensive review of data produced by Defendant during discovery and Class Counsel’s

confirmation of the unique cell phone numbers belonging to members of the putative class, and

taking into account the sharply contested issues involved, the risks, uncertainty and cost of

further prosecution of this litigation, and the substantial benefits to be received by Settlement

Class Members pursuant to this Settlement Agreement, Class Counsel have concluded that a
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settlement with ContextMedia on the terms set forth herein is fair, reasonable, adequate and in

the best interests of the Settlement Class Members.

       1.03    In negotiating this settlement, Plaintiff and Class Counsel took into account

publicly available information regarding Defendant, among other things, including information

that Class Counsel believes makes the current settlement a sound financial decision for the Class.

       1.04    ContextMedia denies all material allegations in the Complaint and specifically

disputes that it violated the TCPA in any respect, including but not limited whether any

exemptions or exceptions apply with respect to the TCPA, whether an automatic telephone

dialing system was used; whether there was a proper revocation in each instance by each putative

class member, etc.; or that Plaintiff and putative class members are entitled to any relief.

ContextMedia further contends that the allegations in the Complaint are not amenable to class

certification. Nevertheless, given the risks, uncertainties, burden, and expense of continued

litigation, Defendant has agreed to settle this litigation on the terms set forth in this Settlement

Agreement, subject to Court approval.

       1.05    The Parties understand, acknowledge and agree that the execution of this

Settlement Agreement constitutes the settlement and compromise of disputed claims. This

Settlement Agreement is inadmissible as evidence against any party except to enforce the terms

of the Settlement Agreement and is not an admission of wrongdoing or liability on the part of

any party to this Settlement Agreement. The Parties desire and intend to effect a full, complete

and final settlement and resolution of all existing disputes and claims as set forth herein.

       1.06    The Settlement contemplated by this Settlement Agreement is subject to

preliminary approval and final approval by the Court, as set forth herein. This Settlement

Agreement is intended by the Parties to fully, finally and forever resolve, discharge and settle the




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Released Claims, upon and subject to the terms and conditions hereof.

                                     II.       DEFINITIONS

        2.01    “Action” means the action described by the Complaint (and all prior versions of

the Complaint) filed by Plaintiff in the United States District Court for the Northern District of

Illinois, captioned Griffith v. ContextMedia Health, LLC, Case No. 1:16-cv-02900.

        2.02    “Agreement” or “Settlement Agreement” means this Settlement Agreement and

Release, including any exhibits or attachments.

        2.03    “Approved Claims” means claims that have been validly completed, timely

submitted, and approved for payment.

        2.04    “CAFA Notice” refers to the notice requirements imposed by 28 U.S.C.

§ 1715(b).

        2.05    “Text” or “Texts” means outbound texts made by ContextMedia, or on its behalf,

as part of its “Healthy Tips” campaign, sent to Settlement Class Members in accordance with the

criteria of the definition set forth for the Settlement Class.

        2.06    “Cash Award” means a cash payment to an eligible Settlement Class Member.

        2.07    “Claim Form” means the claim form substantially in the form attached hereto as

Exhibit A.

        2.08    “Claims Deadline” means ninety (90) days from the Settlement Notice Date.

        2.09    “Claims Period” means the 90-day period that begins on the Settlement Notice

Date.

        2.10    “Claims Administrator” means the neutral third party selected by the Parties to

effectuate Class Notice and otherwise administer the Settlement as set forth herein, subject to

Court approval.




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        2.11   “Class Counsel” means The Glapion Law Firm, LLC and Tycko & Zavareei LLP.

        2.12   “Class Notice” means the notice specified in Section VIII of this Settlement

Agreement. Class Notice shall be substantially in the forms attached hereto collectively as

Exhibit B, subject to the Court’s approval.

        2.13   “Class Period” means March 7, 2012, through Final Approval.

        2.14   “Class Representative” means the plaintiff, Christy Griffith.

        2.15   “Class Size” means the approximately 2,239 unique cellular telephone numbers

used or subscribed to by Class Members to which ContextMedia sent texts, or caused to be sent,

during the Class Period.

        2.16   “Court” means the United States District Court for the Northern District of

Illinois.

        2.17   The Settlement will be a non-reversionary settlement fund, from which all Class

Members’ claims, the cost of notice and administration, and any attorneys’ fees and incentive

awards to the Class Representative, etc. will be paid (see “Settlement Costs” below). As set forth

below, to the extent there are any checks uncashed within the allotted time, such money will go

to a Cy Pres fund, and to an agreed upon third party charity.

        2.18   “Effective Date” means the date on which the Judgment becomes final as

provided in Section 12.01.

        2.19   “Escrow Account” means a non-interest bearing account established at a

financial institution, by the Claims Administrator, into which monies shall be deposited as set

forth by this Settlement Agreement.

        2.20   “Final Approval Hearing” means the hearing held by the Court to determine

whether to finally approve the Settlement Agreement as fair, reasonable, and adequate.




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        2.21   “Final Approval Order” means the order to be submitted to the Court in

connection with the Final Approval Hearing.

        2.22    “Final Distribution Date” means the earlier of (i) the date as of which all the

checks for Cash Awards have been cashed, or (ii) 210 days after the date on which the last check

for a Cash Award was issued.

        2.23   “Notice Database” means the database containing Settlement Class Members’

information Defendant has provided pursuant to Section 7.02.

        2.24   “Objection Deadline” means forty-five (45) days from the Settlement Notice

Date.

        2.25   “Opt-Out Deadline” means forty-five (45) days from the Settlement Notice Date.

        2.26   “Preliminary Approval Order” means the order by the Court granting preliminary

approval to this Settlement.

        2.27    “Released Claims” means the releases identified in Section XIII.

        2.28   “Released Parties” means ContextMedia and each of its respective past, present

and future parents, subsidiaries, affiliated companies and corporations, any company claiming to

do business as Outcome Health, and each of their respective past, present, and future directors,

officers, managers, employees, general partners, limited partners, principals, insurers, reinsurers,

shareholders, attorneys, advisors, representatives, predecessors, successors, divisions, assigns, or

related entities, and each of their respective executors, successors, and legal representatives, as

well as any person or entity on whose behalf ContextMedia sent Texts.

        2.29    “Settlement Class” means all persons within the United States to whose cellular

telephone number Defendant ContextMedia Health, LLC sent, or caused to be sent, a text

message, other than an opt-out confirmation text message, as part of its “Healthy Tips”




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campaign, after Defendant’s records or the records of any entity with whom Defendant

contracted to provide text messaging services indicate that the telephone number to which the

text messages were sent had previously sent a text message with the single word “STOP” or the

single phrase “STOP CMH TIPS,” regardless of capitalization.

       2.30    “Settlement Class Members” or “Class Members” means those persons who are

members of the Settlement Class, as set forth in the definition in Section 2.29, and who do not

timely and validly request exclusion from the Settlement Class.

       2.31    “Settlement Costs” means all costs incurred by Plaintiff, the Settlement Class

Members, and their attorneys, including but not limited to Plaintiff’s attorneys’ fees, costs of

suit, Plaintiff’s expert or consultant fees, any incentive payments paid to the Class

Representative, notice costs, costs of claims administration, and all other costs of administering

the Settlement Agreement (including but not limited to administration costs associated with any

website, publication, notice, toll free telephone number, or any other cost associated with this

Settlement Agreement).

       2.32    “Settlement Fund” means the non-reversionary cash sum that will be paid by

ContextMedia to settle this Action in accordance with the terms of this Settlement Agreement, as

identified in Section 4.02. This provision does not prevent ContextMedia, or any other person or

entity, from paying all or part of the Settlement Fund on ContextMedia’s behalf.

       2.33    “Settlement Notice Date” means June 29, 2018, or twenty-five (25) days after a

Preliminary Approval Order is issued, whichever is later.

       2.34    “Settlement Website” means the Internet website operated by the Claims

Administrator as described in Section 8.04.

       2.35    “TCPA” means the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.,




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and any regulations or rulings promulgated under it.

    III.      THE PARTIES RECOMMEND APPROVAL OF THE SETTLEMENT.

       3.01    Defendant’s Position on the Conditional Certification of Settlement Class.

       Defendant disputes that a class would be manageable or that common issues predominate

over individual ones, and further denies that a litigation class properly could be certified on the

claims asserted in this Action. However, solely for purposes of avoiding the expense and

inconvenience of further litigation, Defendant does not oppose the certification for settlement

purposes only of the Settlement Class. Preliminary certification of the Settlement Class for

settlement purposes shall not be deemed a concession that certification of a litigation class is

appropriate, nor would Defendant be precluded from challenging class certification in further

proceedings in this Action or in any other action if the Settlement Agreement is not finalized or

finally approved. If the Settlement Agreement is not finally approved by the Court for any

reason whatsoever, the certification of the Settlement Class will be void, and no doctrine of

waiver, estoppel or preclusion will be asserted in any litigated certification proceedings in this

Action; however, such an occurrence will have no impact on any decision on class certification

rendered prior to the Parties’ agreement to settle this matter on January 24, 2018. No agreements

made by or entered into by Defendant in connection with the Settlement Agreement may be used

by Plaintiff, any person in the Settlement Class or any other person to establish any of the

elements of liability or class certification in any litigated certification proceedings, whether in

this Action or any other judicial proceeding.

       3.02    Plaintiff’s Belief in the Merits of Case. Plaintiff believes that the claims asserted

in this Action have merit and that the evidence developed to date supports those claims. This

Settlement Agreement shall in no event be construed or deemed to be evidence of or an




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admission or concession on the part of Plaintiff that there is any infirmity in the claims asserted

by Plaintiff, or that there is any merit whatsoever to any of the contentions and defenses that

Defendant has asserted.

          3.03   Plaintiff Recognizes the Benefits of Settlement. Plaintiff recognizes and

acknowledges, however, the expense and amount of time which would be required to continue to

pursue this Action against Defendant, as well as the uncertainty, risk and difficulties of proof

inherent in prosecuting such claims on behalf of the Settlement Class. Plaintiff has concluded

that it is desirable that this Action and any Released Claims be fully and finally settled and

released as set forth in this Settlement Agreement. Plaintiff and Class Counsel believe that the

agreement set forth in this Settlement Agreement confers substantial benefits upon the

Settlement Class and that it is in the best interests of the Settlement Class to settle as described

herein.

  IV.        SETTLEMENT TERMS AND BENEFITS TO THE SETTLEMENT CLASS

          4.01   Confirmatory Discovery: The Parties have engaged in confirmatory discovery,

and have agreed upon the Class Size.

          4.02   Monetary Consideration. In consideration of the releases, covenants, and other

agreements set forth in this Settlement Agreement, ContextMedia will pay or cause to be paid

$2,900,000 into the Escrow Account within twenty-one (21) days after entry of Preliminary

Approval provided that the Claims Administrator has first provided Defendant with: (a) a W-9

for the Escrow Account, and (b) the wire or check mailing instructions for payment to the

Escrow Account. This Settlement Fund will be used to pay all monies, including approved

Claims, and any Settlement Costs (as referenced above, and including but not limited to any

enhancement fee to Griffith, any awarded attorneys’ fees and costs, and any costs associated with




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the administration of this settlement). Under no circumstances shall ContextMedia be required

to pay, or cause to be paid, any amount in excess of $2,900,000 in order to resolve the Action or

obtain releases from Plaintiff and Settlement Class Members. Claims will not be paid until after

the Effective Date as set forth in 7.03(d).

       4.03      Eligibility for Cash Awards. Cash Awards shall be made to eligible Settlement

Class Members who make valid and timely claims. Each Settlement Class Member shall be

entitled to make one claim for a Cash Award, except that Settlement Class Members who

received texts on multiple cell phone numbers may submit one claim for each unique cell phone

number called.

       4.04      Amount Paid per Claim. Each Settlement Class Member who makes a valid and

timely claim shall receive a Cash Award. The amount of each Cash Award shall be determined

by the following formula: (Settlement Fund – Settlement Costs) ÷ (Total Number of Texts Sent

to Claiming Class Members) = Cash Award Per Text. The Cash Award for each Settlement

Class Member who makes a valid and timely claim is the Settlement Class Member’s pro rata

share of the total payments to Settlement Class Members, based on a pro rata share of Texts

received by that Settlement Class Member. For example, if there is $2,000,0000 in the

Settlement Fund after Settlement Costs, and there are 1,000 Settlement Class Members who

make valid and timely claims, whose total Texts equaled 25,000 Texts, the per-Text pro rata

share would be $80 per Text (i.e. $2,000,000 ÷ 25,000). Further to such example, if one of the

1,000 Settlement Class Member who made a valid and timely claim had received 20 Texts, that

Settlement Class Member would receive a payment of $1,600 (i.e. $80 X 20). Defendants will

provide the Claims Administrator with sufficient information to determine the number of Texts

sent to each Settlement Class Member, so as to calculate the foregoing.




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V.     ATTORNEYS’ FEES, COSTS AND PAYMENT TO CLASS REPRESENTATIVES

       5.01    Class Representative and Class Counsel Appointment. For settlement purposes,

and subject to Court approval, Griffith is appointed as the Class Representative for the

Settlement Class as a whole, and The Glapion Law Firm, LLC and Tycko & Zavareei LLP are

appointed Class Counsel for the Settlement Class.

       5.02    Attorneys’ Fees and Costs. Class Counsel shall move the Court for an award of

attorneys’ fees and expenses to be paid from the Settlement Fund, not to exceed 1/3 of the

Settlement Fund. Class Counsel shall be entitled to payment of the fees awarded by the Court

out of the Settlement Fund as set forth in Section 7.03. This Settlement will be binding and

enforceable regardless of whether the Court approves the attorneys’ fees and costs sought by

Class Counsel. In addition, no interest will accrue on such amounts at any time. Any award of

attorneys’ fees and costs shall be paid from the Settlement Fund.

       5.03    Class Counsel may elect to have all, part, or none of their attorneys’ fees award

paid in periodic payments through a structured settlement arrangement entered into prior to

payment of such fees to Class Counsel. Notwithstanding any term in the Agreement to the

contrary, any fees awarded to Class Counsel to be so structured shall be paid by the Settlement

Fund to an assignment company(ies) pursuant to assignment and release agreements reasonably

acceptable to the Settlement Administrator (“Assignment Agreements”). Class Counsel has no

present right to payment of any structured fees that are the subject of Assignment Agreements.

Prior to the payment by the Settlement Fund under any Assignment Agreement, Class Counsel

shall indemnify and hold harmless the Settlement Administrator administering the Settlement

Fund. The Court authorizes the Settlement Administrator and Settlement Fund to execute




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documents and take such actions as may be necessary to effectuate the assignment and payment

of fees under any Assignment Agreement.

        5.04    Payment to Class Representative. The Class Representative will ask the Court to

award an incentive payment, not to exceed $10,000, for the time and effort she has personally

invested in the Action on behalf of the Settlement Class. Within five (5) days of the Effective

Date, and after receiving a W-9 form from the Class Representative, the Claims Administrator

shall pay to Class Counsel the amount of the incentive payment awarded by the Court, and Class

Counsel shall disburse such funds. Court approval of any incentive payment, or its amount, is

not a condition of the Settlement Agreement. Any payment under Section 5.04 shall be paid from

the Settlement Fund.

        5.05    Settlement Independent of Award of Fees, Costs and Incentive Payments. The

payment of attorneys’ fees, costs and any incentive payment set forth in Sections 5.02 and 5.04

are subject to and dependent upon the Court’s approval of the Settlement Agreement as fair,

reasonable, adequate and in the best interests of Settlement Class Members. However, this

Settlement Agreement is not dependent or conditioned upon the Court’s approving Plaintiff’s

requests for such payments or awarding the particular amounts sought by Plaintiff. In the event

the Court declines Plaintiff’s requests or awards less than the amounts sought, this Settlement

Agreement shall continue to be effective and enforceable by the Parties.

                               VI.   PRELIMINARY APPROVAL

        6.01    Order of Preliminary Approval. As soon as practicable after the execution of this

Agreement, Plaintiff shall move the Court for entry of the Preliminary Approval Order in

substantially the form attached as Exhibit D. Pursuant to the motion for preliminary approval,

Plaintiff will request that:




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                 a.     the Court conditionally certify the Settlement Class for settlement

purposes only, appoint Griffith as the Class Representative of the Settlement Class for settlement

purposes only, and appoint Class Counsel as counsel for the Settlement Class for settlement

purposes only;

                 b.     the Court preliminarily approve the Settlement Agreement as fair,

adequate and reasonable, and within the reasonable range of possible final approval;

                 c.     the Court approve the form(s) of Notice and find that the notice program

set forth herein constitutes the best notice practicable under the circumstances, and satisfies due

process and Rule 23 of the Federal Rules of Civil Procedure;

                 d.     the Court set the date and time for the Final Approval Hearing, which may

be continued by the Court from time to time without the necessity of further notice; and,

                 e.     the Court set the Claims Deadline, the Objection Deadline and the Opt-

Out Deadline.

              VII.      ADMINISTRATION AND NOTIFICATION PROCESS

       7.01      Third-Party Claims Administrator. The Parties agree to jointly propose a Claims

Administrator for the Court’s approval on or before Plaintiff’s Motion for Preliminary Approval

hearing date, who shall be responsible for all matters relating to the administration of this

Settlement Agreement, as set forth herein. Those responsibilities include, but are not limited to,

creation of the Escrow Account, giving notice, obtaining new addresses for returned mail, setting

up and maintaining the Settlement Website and toll-free telephone number, fielding inquiries

about the Settlement Agreement, processing claims, acting as a liaison between Settlement Class

Members and the Parties regarding claims information, approving claims, rejecting any Claim

Form where there is evidence of fraud or noncompliance, directing the mailing of Cash Awards




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to Settlement Class Members, and any other tasks reasonably required to effectuate the

foregoing. The Claims Administrator will provide monthly updates on the claims status to

counsel for all Parties.

        7.02    Notice Database. To facilitate the notice and claims administration process, no

later than fifteen (15) days after entry of the Preliminary Approval Order, ContextMedia will

provide to the Claims Administrator, in an electronically searchable and readable format, Notice

Database which include the cellular phone number for all known members of the Settlement

Class. The Parties will provide additional contact and identifying information for Class

Members, such as that obtained via subpoenas to cellular carriers discussed in Paragraph 8.02, to

the extent that it is obtained. Any personal information relating to members of the Settlement

Class provided to the Claims Administrator pursuant to this Settlement Agreement shall be

provided solely for the purpose of providing notice to members of the Settlement Class and

allowing them to recover under this Settlement Agreement; shall be kept in strict confidence;

shall be used only for purposes of this Settlement Agreement; and shall not be disclosed to any

third party.

        7.03    Distribution of the Settlement Fund. The Claims Administrator shall distribute

the funds in the Settlement Fund in the following order and within the time period set forth with

respect to each such payment:

                a.         first, no later than thirty (30) days after the Effective Date, the Claims

Administrator shall pay to Class Counsel the attorneys’ fees, costs, expenses, and incentive

award ordered by the Court as set forth in Section 5.02;




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               b.      next, no later than thirty (30) days after the Effective Date, the Claims

Administrator shall pay to the Class Representative any incentive award ordered by the Court, as

described in Section 5.04;

               c.      next, no later than sixty (60) days after the Effective Date, the Claims

Administrator shall be paid for any unreimbursed costs of administration incurred;

               d.      next, no later than thirty (30) days after the Effective Date, the Claims

Administrator shall mail the Cash Awards to eligible Settlement Class Members pursuant to

Section IX;

               e.      next, if checks that remain uncashed after 210 days of the first pro rata

distribution yield an amount that, after administration costs, feasibly allow a second pro rata

distribution to the qualifying claimants, the Claims Administrator shall distribute any such funds

on a pro rata basis to Settlement Class Members who cashed settlement checks. If net uncashed

proceeds exceed $1.00 per Text, a second distribution will be considered administratively

feasible.

               f.      finally, if a second pro rata distribution is not made, or if checks remain

uncashed 210 days after the second distribution, the uncashed amount will be paid to a mutually

agreeable cy pres recipient, subject to Court approval. The parties jointly agree to propose

American Diabetes Association as the cy pres recipient.

                                     VIII.      NOTICES

        8.01   Timing of Class Notice. Class Notice shall be provided to all persons in the

Settlement Class by June 29, 2018, or within twenty-five (25) days following entry of the

Preliminary Approval Order, whichever is later.




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       8.02    Mail Notice. Class Counsel has issued subpoenas to wireless carriers (Verizon,

T-Mobile, Cingular, Sprint) covering approximately 96% of all Class Members for information

on the names and addresses of the subscribers to those telephone numbers. Within twenty (20)

days of receipt of the list of cellular telephone numbers belonging to Class Members, the Claims

Administrator shall conduct a reasonable search to locate an address and/or name associated with

such cellular phone numbers belonging to carriers to which a subpoena was not sent. Within

thirty (30) days of the receipt of the final subpoena response from the aforementioned carriers,

the Claims Administrator shall conduct a reasonable search to locate an address and/or name

associated with any telephone number for which a subpoena response was not provided, and

shall prepare a master list of addresses/names believed to be associated with all Class Member

telephone numbers, and advise the Parties of the amount of the same. This master list will

consist of 1) Class Member information already known; 2) Class Member information obtained

via subpoenas; and 3) Class Member information obtained via reasonable searches. Once such

list has been prepared, Settlement Notice shall be provided as follows:

               a.     Mail Notice/Address Confirmation. For those Class Members for which

an address has been located, the Claims Administrator shall send the Settlement Notice via first

class mail, to such address. The last known address of persons in the Settlement Class will be

subject to confirmation or updating as follows: (a) the Claims Administrator will check each

address against the United States Post Office National Change of Address Database before the

initial mailing; (b) the Claims Administrator will conduct a reasonable search to locate an

updated address for any person in the Settlement Class whose Settlement Notice is returned as

undeliverable; (c) the Claims Administrator shall update addresses based on any forwarding

information received from the United States Post Office; and, (d) the Claims Administrator shall




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update addresses based on any requests received from persons in the Settlement Class.

                  b.     Re-Mailing of Returned Settlement Notices. The Claims Administrator

shall promptly re-mail any Notices that are returned as non-deliverable with a forwarding

address to such forwarding address. For all returned mail, the Claims Administrator will perform

data searches and other reasonable steps to attempt to obtain better contact information on the

Settlement Class Member. All costs of such research will be considered Settlement Costs and

deducted from the Settlement Fund.

       8.03       Publication Notice. The Claims Administrator shall design and conduct a

Facebook notice program which the Parties believe will fully satisfy the requirements of due

process in conjunction with the other forms of notice discussed in this Agreement. This notice

will be in the form of targeted Facebook ads targeting Class Members by the phone number at

which they received the Text Messages. The Publication Notice program will be agreed to by the

Parties and submitted to the Court with Plaintiff’s Motion for Preliminary Approval. The

Publication Notice program will be initiated on the Settlement Notice Date, or as soon thereafter

as practicable.

       8.04       Settlement Website. By the Settlement Notice Date, the Claims Administrator

shall maintain and administer a dedicated settlement website containing class information and

related documents, along with information necessary to file a claim, and an electronic version of

the Claim Form Class Members can download, complete and submit electronically. At a

minimum, such documents shall include the Settlement Agreement and attached exhibits, Mail

Notice, Preliminary Approval Order, a downloadable Claim Form for anyone wanting to print a

hard copy and mail in the Claim Form, the operative complaint in the Action, and, when filed,

the Final Approval Order. The Settlement Website shall remain operative until the date of the cy




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pres distribution.

       8.05    Toll-Free Telephone Number. By the Settlement Notice date, the Claims

Administrator shall set up a toll-free telephone number for receiving toll-free calls related to the

Settlement Agreement. That telephone number shall be maintained until thirty (30) days after

the Claims Deadline. After that time, and for a period of ninety (90) days thereafter, a recording

will advise any caller to the toll-free telephone number that the Claims Deadline has passed and

the details regarding the Settlement Agreement may be reviewed on the related Settlement

Website.

       8.06    Deficient Claims Notice. On an ongoing basis, the Claims Administrator will

determine if the telephone number submitted with a Claim does not match the telephone number

associated with a particular claim number. In such a circumstance, the Claims Administrator will

mail a letter informing the claimant of this deficiency and requesting either 1) the name and

telephone number for each person on a particular cellular account between July 28, 2015 and

March 31, 2016 or 2) the telephone number and name of the person on the cellular account who

actually received the text messages at issue. A completed deficient claim form that results in an

Approved Claim will be treated as timely so long as the deficient claim form is received within

thirty (30) days of the Claims Deadline.

       8.07    Costs Considered Settlement Costs.        All costs of address confirmation, skip

tracing, and re-mailing of returned Settlement Notices, and text notice, will be considered

Settlement Costs and deducted from the Settlement Fund

       8.08    CAFA Notice. ContextMedia shall be responsible for serving the Class Action

Fairness Act (“CAFA”) notice required by 28 U.S.C. § 1715 within ten (10) days of the filing of

Plaintiff’s Motion for Preliminary Approval.




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                                IX.       CLAIMS PROCESS

       9.01    Potential Claimants. Each member of the Settlement Class who does not timely

and validly request exclusion from the Settlement as required in this Settlement Agreement shall

be a Settlement Class Member and entitled to make a claim. Each Settlement Class Member

shall be entitled to make one claim per unique cell phone number on which they received Texts,

regardless of the number of times the Settlement Class Member was texted on a particular cell

number. Though a single claim (or multiple if different unique cell numbers to a Settlement

Class Member), the calculation of the claim will be based on a per-Text, pro rata basis, as

discussed herein.

       9.02    Conditions for Claiming Cash Award. To make a claim, Settlement Class

Members must submit by the Claims Deadline a valid and timely Claim Form by U.S. mail or

through the Settlement Website, which shall contain the information set forth in Exhibit A

hereto, including the Settlement Class Member’s 1) name; 2) current address; 3) cell phone

number on which claimant received Text(s) from ContextMedia; 4) current contact telephone

number, if available; and 5) contact email address, if available. The Claims Administrator will

notify claimants who submit a first incomplete or incorrect claim form of the deficiency,

including an incorrect cell phone number, and provide them the opportunity to submit a

corrected form. Claims will be limited to one claim per person, per unique cell phone number,

with the proportionate Cash Award being based on a pro-rata per-text amount of the remaining

Settlement Fund.

       9.03    Mailing of Settlement Checks. Settlement checks shall be sent to qualified class

members by the Claims Administrator via U.S. mail no later than thirty (30) days after the

Effective Date. If any settlement checks are returned, the Claims Administrator shall attempt to




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obtain a new mailing address for that Settlement Class Member by taking the steps described in

Section 8.02. If, after a second mailing, the settlement check is again returned, no further efforts

need be taken by the Claims Administrator to resend the check. The Claims Administrator shall

advise Class Counsel and counsel for Defendant of the names of the claimants whose checks are

returned by the postal service as soon as practicable. Each settlement check will be negotiable

for one hundred eighty (180) days after it is issued.

                           X.       OPT-OUTS AND OBJECTIONS

       10.01 Opting Out of the Settlement. Any members of the Settlement Class who wish to

exclude themselves from the Settlement Class must advise the Claims Administrator in writing

of that intent, and their opt-out request must be postmarked no later than the Opt-Out Deadline.

The Claims Administrator shall provide the Parties with copies of all opt-out requests it receives

in weekly status reports to the Parties, and shall provide a list of all Settlement Class Members

who timely and validly opted out of the Settlement in its declaration filed with the Court, as

required by Section 11.01. The declaration shall include the names of persons who have

excluded themselves from the Settlement, but it shall not include their addresses or any other

personal identifying information. Settlement Class Members who do not properly and timely

submit an opt-out request will be bound by this Agreement and the judgment, including the

releases in Section XII.

               a.      In the written request for exclusion, the Settlement Class Member must

state his or her full name, address, telephone number, and the telephone number(s) texted by

ContextMedia (if different). Further, the Settlement Class Member must include a statement in

the written request that he or she wishes to be excluded from the Settlement Agreement. The

request must be signed by the Settlement Class Member.




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                b.    Any member of the Settlement Class who submits a valid and timely

request for exclusion will not be a Settlement Class Member and shall not be bound by the terms

of this Agreement.

                c.    “Mass” or “class” opt-outs filed by third parties on behalf of a “mass” or

“class” of Settlement Class Members, when not signed by each Settlement Class Member, will

not be valid.

       10.02 Objections. Any Settlement Class Member who intends to object to the fairness

of this Settlement must file a written objection with the Court by the Objection Deadline. In the

written objection, the Settlement Class Member must state (i) his or her full name, address and

telephone number; (ii) the telephone number(s) texted by ContextMedia (if different); (iii) the

reasons for his or her objection; (iv) the name of counsel for the objection (if any); (v)

information about other objections the objector or his or her counsel have made in other class

action cases in the last four (4) years; and (vi) whether he or she intends to appear at the Final

Approval Hearing on his or her own behalf or through counsel. Any documents supporting the

objection must also be attached to the objection. The Parties will have the right to issue

discovery to or depose any objector as to the basis and circumstances of his or her objection, and

to assess whether the objector has standing. A Settlement Class Member may not both opt out of

the Settlement and object. If a Settlement Class Member submits both a request for exclusion and

objection, the request for exclusion will control. A Settlement Class Member who opts out of the

Settlement may not object to the fairness of this settlement. A Settlement Class Member who

objects to the Settlement may withdraw that objection. A Settlement Class Member who opts out

of the Settlement may opt back in so long as the opt-in request is received prior to the Claims

Deadline.




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       10.03 Any Settlement Class Member who objects may appear at the Final Approval

Hearing, either in person or through an attorney hired at the Settlement Class Member’s own

expense, to object to the fairness, reasonableness, or adequacy of this Agreement or the

Settlement.

                    XI.      FINAL APPROVAL AND JUDGMENT ORDER

       11.01 No later than fourteen (14) calendar days prior to the Final Approval Hearing, the

Claims Administrator shall file with the Court and serve on counsel for all Parties a declaration

stating that the Notice required by the Agreement has been completed in accordance with the

terms of the Preliminary Approval Order.

       11.02 If the Settlement Agreement is approved preliminarily by the Court, and all other

conditions precedent to the Settlement have been satisfied, no later than fourteen (14) calendar

days prior to Final Approval Hearing:

               a.         The Parties shall request, individually or collectively, that the Court enter

the Final Approval Order, with Class Counsel filing a memorandum in support of the motion;

and,

               b.         Class Counsel and/or Defendant may file a memorandum addressing any

objections submitted to the Settlement Agreement, and Defendant may file a memorandum in

support of the Parties’ request that the Court enter Final Approval.

       11.03 At the Final Approval Hearing, the Parties will ask the Court to consider and

determine whether the provisions of this Agreement should be approved, whether the Settlement

Agreement should be finally approved as fair, reasonable and adequate, whether any objections

to the Settlement Agreement should be overruled, whether the fee award and incentive payments

to the Class Representative should be approved, and whether a judgment finally approving the




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Settlement Agreement should be entered.

       11.04 This Agreement is subject to and conditioned upon the issuance by the Court of a

Final Approval Order which grants final approval of this Agreement and:

               a.        finds that the Notice provided satisfies the requirements of due process

and Federal Rule of Civil Procedure Rule 23(e)(1);

               b.        finds that Settlement Class Members have been adequately represented by

the Class Representative and Class Counsel;

               c.        finds that the Settlement Agreement is fair, reasonable and adequate to the

Settlement Class, that each Settlement Class Member shall be bound by this Agreement,

including the release in Sections 13.01, 13.02, and 13.03, and the covenant not to sue in Section

13.04, and that this Settlement Agreement should be and is approved;

               d.        dismisses on the merits and with prejudice all Released Claims of the

Settlement Class Members;

               e.        permanently enjoins each and every Settlement Class Member from

bringing, joining or continuing to prosecute any Released Claims against Defendant or the

Released Parties; and,

               f.        retains jurisdiction of all matters relating to the interpretation,

administration, implementation, effectuation and enforcement of this Settlement.

                                  XII.     FINAL JUDGMENT

       12.01 The judgment entered at the Final Approval Hearing shall be deemed final:

               a.        Thirty (30) days after entry of the judgment granting final approval of the

Settlement Agreement if no document is filed within that time seeking appeal, review or

rehearing of the judgment; or




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                  b.   If any such document is filed, then five (5) days after the date upon which

all appellate and/or other proceedings resulting from such document have been finally terminated

in such a manner as to permit the judgment to take effect in substantially the form described in

Section 11.04.

                              XIII.     RELEASE OF CLAIMS

       13.01 Released Claims. “Released Claims” means any and all claims, causes of action,

suits, obligations, debts, demands, agreements, promises, liabilities, damages, losses,

controversies, costs, expenses and attorneys’ fees of any nature whatsoever, whether based on

any federal law, state law, common law, territorial law, foreign law, contract, rule, regulation,

any regulatory promulgation (including, but not limited to, any opinion or declaratory ruling),

common law or equity, whether known or unknown, suspected or unsuspected, asserted or

unasserted, foreseen or unforeseen, actual or contingent, liquidated or unliquidated, punitive or

compensatory, as of the date of the Final Approval Order, that relate to or arise out of any Text,

attempted Text, telephone call, or attempted telephone call, to any Settlement Class Members, by

or on behalf of Defendant or the Released Parties. For the avoidance of doubt, “Released

Claims” include, but are not limited to, claims relating to or arising out of the equipment or

method used to contact or attempt to contact Settlement Class Members by way of Text or

telephone call.

       13.02 Waiver of Unknown Claims. Without expanding the foregoing release, the

Released Claims specifically extend to claims that Plaintiff and Settlement Class Members do

not know or suspect to exist in their favor at the time that the Settlement Agreement and the

releases contained therein become effective. This Section constitutes a waiver, without

limitation as to any other applicable law, of Section 1542 of the California Civil Code, which




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provides:


                   A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                   WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT
                   TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
                   EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM
                   OR HER MUST HAVE MATERIALLY AFFECTED HIS OR
                   HER SETTLEMENT WITH THE DEBTOR.

        13.03 Plaintiff and Settlement Class Members understand and acknowledge the

significance of these waivers of California Civil Code Section 1542 and similar federal and state

statutes, case law, rules, or regulations relating to limitations on releases. In connection with

such waivers and relinquishment, Plaintiff and the Settlement Class Members acknowledge that

they are aware that they may hereafter discover facts in addition to, or different from, those facts

that they now know or believe to be true with respect to the subject matter of the Settlement, but

that it is their intention to release fully, finally, and forever all Released Claims with respect to

the Released Parties, and in furtherance of such intention, the releases of the Released Claims

will be and remain in effect notwithstanding the discovery or existence of any such additional or

different facts.

        13.04 Covenant Not To Sue. Plaintiff agrees and covenants, and each Settlement Class

Member will be deemed to have agreed and covenanted, not to sue any of the Released Parties

with respect to any of the Released Claims, and agree to be forever barred from doing so in any

court of law or equity, arbitration proceeding, or any other forum. However, nothing herein is

intended to restrict any Settlement Class Member from contacting, assisting or cooperating with

any government agency.

        13.05 ContextMedia agrees to make all reasonable efforts within its power, and as

permitted by law, to withdraw its October 20, 2017 Petition for Clarification, or, in the

Alternative, for Declaratory Ruling, CG Docket No. 02-278, DA 17-1054, from consideration by


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the Federal Communications Commission, upon entry of a Preliminary Approval Order.

                          XIV.      TERMINATION OF AGREEMENT

       14.01 Either Side May Terminate the Agreement. Plaintiff and Defendant shall each

have the right to unilaterally terminate this Settlement Agreement by providing written notice of

his, her, or its election to do so (“Termination Notice”) to all other Parties hereto within ten (10)

calendar days of any of the following occurrences:

               a.         the Court rejects, materially modifies, materially amends or changes, or

declines to preliminarily or finally approve the Settlement Agreement;

               b.         an appellate court reverses the Final Approval Order, and the Settlement

Agreement is not reinstated without material change by the Court on remand;

               c.         any court incorporates into, or deletes or strikes from, or modifies,

amends, or changes, the Preliminary Approval Order, Final Approval Order, or the Settlement

Agreement in a way that is material, unless such modification or amendment is accepted in

writing by all Parties;

               d.         the Effective Date does not occur; or

               e.         any other ground for termination provided for elsewhere in this Settlement

Agreement occurs.

       14.02 Termination if Large Number of Opt–Outs. If, as of the Opt-Out Deadline, more

than 75 Settlement Class Members have opted-out of the Settlement pursuant to Section 10.01,

ContextMedia shall have, in its sole and absolute discretion, the option to terminate this

Agreement within ten (10) calendar days after the Opt-Out Deadline.

       14.03 Revert to Status Quo. If either Plaintiff or Defendant terminate this Settlement

Agreement as provided under Section XIV, the Settlement Agreement shall be of no force and




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effect and the Parties’ rights and defenses shall be restored, without prejudice, to their respective

positions as if this Settlement Agreement had never been executed, and any orders entered by the

Court in connection with this Settlement Agreement shall be vacated. However, any payments

made to the Claims Administrator for services rendered to the date of termination shall not be

refunded to ContextMedia, but such payments shall constitute recoverable costs to the extent

allowed by law.

                         XV.       NO ADMISSION OF LIABILITY

       15.01 Defendant denies any liability or wrongdoing of any kind associated with the

alleged claims in the operative complaint, whether related to its conduct or the conduct of third

parties on its behalf. Defendant has denied and continues to deny each and every material

factual allegation and all claims asserted against it in the Action. Nothing herein shall constitute

an admission of wrongdoing or liability, or of the truth of any allegations in the Action. Nothing

herein shall constitute an admission by Defendant that the Action is properly brought on a class

or representative basis, or that a class may be certified in the Action, other than for settlement

purposes. To this end, the settlement of the Action, the negotiation and execution of this

Settlement Agreement, and all acts performed or documents executed pursuant to or in

furtherance of the Settlement: (i) are not and shall not be deemed to be, and may not be used as,

an admission or evidence of any wrongdoing or liability on the part of ContextMedia or of the

truth of any of the allegations in the Actions; (ii) are not and shall not be deemed to be, and may

not be used as an admission or evidence of any fault or omission on the part of ContextMedia in

any civil, criminal or administrative proceeding in any court, arbitration forum, administrative

agency or other tribunal; and, (iii) are not and shall not be deemed to be and may not be used as

an admission of the appropriateness of these or similar claims for class certification.




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       15.02 Pursuant to Federal Rules of Evidence Rule 408 and any similar provisions under

the laws of other states, neither this Settlement Agreement nor any related documents filed or

created in connection with this Settlement Agreement shall be admissible in evidence in any

proceeding, except as necessary to approve, interpret or enforce this Settlement Agreement.

                                         XVI.     TAXES

       16.01 Qualified Settlement Fund. The Parties agree that the account into which the

Settlement Fund is deposited is intended to be and will at all times constitute a “qualified

settlement fund” within the meaning of Treas. Reg. § 1.468B-1. The Claims Administrator shall

timely make such elections as necessary or advisable to carry out the provisions of Section VII,

including, if necessary, the “relation back election” (as defined in Treas. Reg. § 1.468B-1(j)(2))

back to the earliest permitted date. Such elections shall be made in compliance with the

procedures and requirements contained in such Treasury regulations promulgated under

§ 1.468B of the Internal Revenue Code of 1986, as amended (the “Code”). It shall be the

responsibility of the Claims Administrator to cause the timely and proper preparation and

delivery of the necessary documentation for signature by all necessary parties, and thereafter to

cause the appropriate filing to occur.

       16.02    Claims Administrator is “Administrator”. For the purpose of § 1.468B of the

Code and the Treasury regulations thereunder, the Claims Administrator shall be designated as

the “administrator” of the Settlement Fund. The Claims Administrator shall cause to be timely

and properly filed all informational and other tax returns necessary or advisable with respect to

the Settlement Fund (including, without limitation, the returns described in Treas. Reg. § 1.468B

2(k)). Such returns shall reflect that all Taxes (including any estimated taxes, interest or

penalties) on the income earned by the Settlement Fund shall be paid out of the Settlement Fund.




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        16.03 Taxes Paid by Administrator. All taxes arising in connection with income earned

by the Settlement Fund, including any taxes or tax detriments that may be imposed upon

ContextMedia or any of the other Released Parties with respect to any income earned by the

Settlement Fund for any period during which the Settlement Fund does not qualify as a

“qualified settlement fund” for federal or state income tax purposes shall be paid by the Claims

Administrator from the Settlement Fund.

        16.04 Expenses Paid from Fund. Any expenses reasonably incurred by the Claims

Administrator in carrying out its duties, including fees of tax attorneys and/or accountants and

the cost of issuing 1099s (for example if the amount of a claim exceeds $600), shall be paid by

the Claims Administrator from the Settlement Fund.

        16.05 Responsibility for Taxes on Distribution. Any person or entity that receives a

distribution from the Settlement Fund shall be solely responsible for any taxes or tax-related

expenses owed or incurred by that person or entity by reason of that distribution. Such taxes and

tax-related expenses shall not be paid from the Settlement Fund.

                               XVII.      MISCELLANEOUS

        17.01 Entire Agreement. This Settlement Agreement and the exhibits hereto constitute

the entire agreement between the Parties. Any previous memoranda regarding settlement are

superseded by this Settlement Agreement. No representations, warranties or inducements have

been made to any of the Parties, other than those representations, warranties, and covenants

contained in this Settlement Agreement.

        17.02 Governing Law. This Settlement Agreement shall be governed by the laws of the

State of Illinois.

        17.03 Jurisdiction. The Court shall retain continuing and exclusive jurisdiction over the




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Parties to this Settlement Agreement, including the Plaintiff and all Settlement Class Members,

for purposes of the administration and enforcement of this Settlement Agreement.

       17.04 No Construction Against Drafter. This Settlement Agreement was drafted jointly

by the Parties and, in construing and interpreting this Settlement Agreement, no provision of this

Settlement Agreement shall be construed or interpreted against any Party based upon the

contention that this Settlement Agreement or a portion of it was purportedly drafted or prepared

by that Party.

       17.05 Resolution of Disputes. The Parties shall cooperate in good faith in the

administration of this Settlement Agreement and agree to use their best efforts to promptly file a

motion for preliminary approval with the Court. Any unresolved dispute regarding the

administration of this Settlement Agreement shall be decided by a retired Judge with JAMS,

Chicago, with the first preference being Judge Holderman, if available.

       17.06 Counterparts. This Settlement Agreement may be signed in counterparts, and the

separate signature pages executed by the Parties and their counsel may be combined to create a

document binding on all of the Parties and together shall constitute one and the same instrument.

       17.07 Time Periods. The time periods and dates described herein are subject to Court

approval and may be modified upon order of the Court or written stipulation of the Parties.

       17.08 Authority. Each person executing this Settlement Agreement on behalf of any of

the Parties hereto represents that such person has the authority to so execute this Settlement

Agreement.

       17.09 No Oral Modifications. This Settlement Agreement may not be amended,

modified, altered or otherwise changed in any manner, except by a writing signed by a duly

authorized agent of Defendant and Plaintiff, and approved by the Court.




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       17.10 Publicity and Confidentiality. The Parties agree that they will not initiate any

publicity of the Settlement Agreement and will not respond to requests by any media (whether

print, online, or any traditional or non-traditional form) about the Settlement Agreement. Notice

of the Settlement Agreement will be delivered exclusively through the notice process set forth in

Section VIII, above.

       17.11 Notices. Unless otherwise stated herein, any notice required or provided for

under this Agreement shall be in writing and may be sent by electronic mail, fax or hand

delivery, postage prepaid, as follows:

       If to Class Counsel:

               Jeremy M. Glapion
               The Glapion Law Firm, LLC
               1704 Maxwell Drive
               Wall, New Jersey 07719
               Telephone: (732-455-9737
               jmg@glapionlaw.com




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APPROVED AS TO FORM AND CONTENT:


DATED: April 3, 2018                    FAEGRE BAKER DANIELS LLP


                                        By:
                                                     Erin L. Hoffman
                                                  Attorney for Defendant
                                                ContextMedia Health, LLC.


DATED: April 3, 2018                    MICHELMAN & ROBINSON, LLP


                                        By:
                                                   Sanford Michelman
                                                  Attorney for Defendant
                                                ContextMedia Health, LLC.


DATED:                                  THE GLAPION LAW FIRM, LLC


                                        By:
                                                   Jeremy M. Glapion
                                                      Class Counsel




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             If to counsel for Defendant

                              Erin L. Hoffman
                              Larry E. LaTarte
                              Faegre Baker Daniels LLP
                              2200 Wells Fargo Center
                              90 South Seventh Street
                              Minneapolis, MN 55402-3901, USA
                              Telephone: (612) 766-8043
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                              Sanford L. Michelman
                              Todd Stitt
                              Michelman & Robinson, LLP
                              10880 Wilshire Blvd., 19th Floor
                              Los Angeles, CA. 90024
                              Telephone: (310) 299-5500
                              smichelm@mrllp.com
                              tstitt@mrllp.com


                     IN WITNESS WHEREOF, the parties hereto have caused this Settlement Agreement to

             be executed.


                            4/2/2018
             DATED:                                              Plaintiff Christy Griffith




             DATED:                                              Defendant ContextMedia Health, LLC.


                                                                 Name:

                                                                 Title:




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             APPROVED AS TO FORM AND CONTENT:


             DATED:                                            FAEGRE BAKER DANIELS LLP


                                                               By:
                                                                            Erin L. Hoffman
                                                                         Attorney for Defendant
                                                                       ContextMedia Health, LLC.


             DATED:                                            MICHELMAN & ROBINSON, LLP


                                                               By:
                                                                          Sanford Michelman
                                                                         Attorney for Defendant
                                                                       ContextMedia Health, LLC.

                            4/2/2018
             DATED:                                            THE GLAPION LAW FIRM, LLC


                                                               By:
                                                                          Jeremy M. Glapion
                                                                             Class Counsel




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                    EXHIBIT A
ase: __________________
     1:16-cv-02900 Document        #: 101-2
                        Settlement Claims    Filed: 04/03/18 Page 37 of 55 PageID #:12
                                          Administrator
                                                                                                             FIRST-CLASS MAIL
    PO Box _______                                                                                             U.S. POSTAGE
    [City], [State] [Zip]                                                                                           PAID
                                                                                                                Portland, OR
                                                                                                              PERMIT NO. 2882


    Important Notice About a Class Action Settlement
        Griffith v. ContextMedia Health, LLC
                   Case No. 16-2900
             United States District Court                          <<BARCODE>>
             Northern District of Illinois
       If you or someone on your                                   <<First1>> <<Last1>>
                                                                   <<CO>>
     account was sent one or more                                  <<Addr2>>
      Healthy Tips text messages                                   <<Addr1>>
      after you or they had texted                                 <<CITY, ST, ZIP>>
                                                                   <<COUNTRY>>
    back “STOP” or “STOP CMH
       TIPS,” you or they may be
     entitled to a payment from a
         class action Settlement




                                                Cash Payment Claim Form
     To make a Claim for a cash payment from the Settlement Fund, you must fill out, sign and return this card by Month Day, 2018,
     or you can submit your claim online by 11:59 p.m. PST on Month Day, 2018 at www.XXXXXXXXXXXXXXXX.com
     by inputting this unique identification number: <<CLAIM ID>>
     Cell phone number on which you received the “Healthy Tips” text messages:
                      -                    -
     Please have the primary user of the above telephone number when the text messages were received (approximately July
     28, 2015 to March 31, 2016) fill out and sign below.
     First Name:                                          MI:      Last Name:


     Current Address:


     City:                                                                              State:         ZIP Code:


     Current contact telephone number, if available:
                      -                    -
     Email Address:


     Signature:	                                                                                  Date (MM/DD/YY):



                                                         <<BARCODE>>
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     If you or someone on your account were sent one or more Healthy Tips text messages after
          you or they had texted back “STOP” or “STOP CMH TIPS,” you or they may be
                        entitled to a payment from a class action Settlement
        A $2.9 million Settlement has been reached in a class number of text messages included in all valid claims filed.
    action lawsuit about whether ContextMedia Health, LLC Each Settlement Class Member may only file one valid claim
    (“Defendant”) sent text messages to wireless telephone per unique affected cell phone number.
    numbers without the consent of the recipients in violation
    of the Telephone Consumer Protection Act, 47 U.S.C. §               How Can Class Members Get a Payment? Fill
    227 (“TCPA”). The Defendant denies the allegations in the out and return the included Claim Form by regular
    lawsuit, and the Court has not decided who is right.           U.S. mail, postmarked on or before Month, DD, 2018.
                                                                   You may also file a claim online at the website
        Who’s Included? The Defendant’s records show that (www.XXXXXXXXXXXXXXX.com). The deadline to file
    you or someone on your cell phone account is likely a a claim online is 11:59 p.m. PST on Month, Day, 2018.
    Settlement Class Member. The Class includes all persons
    within the United States to whose cellular telephone number         Your Rights May Be Affected. If you do not want to
    Defendant ContextMedia Health, LLC sent, or caused to be bound by the Settlement you must exclude yourself
    be sent, a text message, other than an opt-out confirmation by Month Day, 2018. If you do not exclude yourself you
    text message, as part of its “Healthy Tips” campaign, after will release claims you may have against the Defendant as
    Defendant’s records or the records of any entity with whom more fully described in the Settlement Agreement available
    Defendant contracted to provide text messaging services at the settlement website. If you stay in the Class you may
    indicate that the telephone number to which the text object to the Settlement by Month Day, 2018. The Detailed
    messages were sent had previously sent a text message with Notice available on the website listed below explains how to
    the single word “STOP” or the single phrase “STOP CMH exclude yourself or object. The Court will hold a hearing on
    TIPS,” regardless of capitalization.                           Month Day, 2018 to consider whether to approve the
        What Are the Settlement Terms? Defendants have Settlement and a request for attorneys’ fees and costs of up
    agreed to pay $2,900,000 to create a Settlement Fund to pay to 1/3 of the Settlement Fund, and a Class Representative
     IMPORTANT:
    cash  payments toDO   NOT
                       valid    ENLARGE,
                             claimants,       REDUCE
                                         attorney  fees, aOR  MOVEservice
                                                           service    the FIMaward
                                                                              and barcodes.    They are You
                                                                                    of up to $10,000.    only may
                                                                                                              valid appear
                                                                                                                    as printed!
                                                                                                                            at the
       Special
    award,     care
            costs,   must beand
                   expenses   taken  to ensure
                                  settlement    FIM and barcode
                                             administration.  The are  actualeither
                                                                   hearing,   size AND   placed
                                                                                    yourself      properly
                                                                                             or through anon  the mail
                                                                                                           attorney     piece
                                                                                                                     hired by you,
       to meet
    cash       both USPS
          payments   will beregulations
                             distributed and
                                          on aautomation   compatibility
                                                pro rata per             standards.
                                                              text but you   don’t have to. For more information, call or visit the
    message basis to valid claimants depending on the total Settlement website.

                    www.XXXXXXXXXXXXXXXX.com • 1-XXX-XXX-XXXX



                                                                                                               NO POSTAGE
                                                                                                               NECESSARY
                                                                                                                IF MAILED
                                                                                                                  IN THE
                                                                                                              UNITED STATES




                        BUSINESS REPLY MAIL
                        FIRST-CLASS MAIL           PERMIT NO 581          PORTLAND OR
                                    POSTAGE WILL BE PAID BY ADDRESSEE



                           MARTIN V WELLS
                           __________             FARGO
                                          Settlement  Claims Administrator
                           SETTLEMENT ADMINISTRATOR
                           PO Box ____
                           PO BOX 4349
                           [City],
                           PORTLAND[State]OR
                                           [Zip]97208-9635
Case: 1:16-cv-02900 Document #: 101-2 Filed: 04/03/18 Page 39 of 55 PageID #:1228
                       Griffith v. ContextMedia Health, LLC., Case No. 1:16-cv-02900
                          United States District Court, Northern District of Illinois




                             CASH PAYMENT CLAIM FORM

To make a claim for a Cash Award from the Settlement Fund, you must fill out, sign, and
return this card by Month DD, 2018.

To submit by U.S. Mail, send the Claim Form to the following address:
                                       Claims Administrator
                                          P.O. Box XXXX
                                    Portland, OR 97208-XXXX



Cellphone number at which you received the “Healthy Tips” text messages:

_____-_____-_______

Please have the primary user of the above phone number when the text messages were received
(approximately July 28, 2015, to March 31, 2016) fill out and sign below.

First Name:                  MI:                           Last Name:

______________________________________ _____________________________________

Current Address:

__________________________________________________

City:                                             State: ZIP Code:
__________________________________________________ _____ ______________


Current Contact Phone Number (if available):

____-____-_______

Email Address:
__________________________________________________

Signature: _____________________

Date: _________________________




      Questions? Visit www.XXXXXXXXXXXXXX.com or call 1-XXX-XXX-XXXX.
Case: 1:16-cv-02900 Document #: 101-2 Filed: 04/03/18 Page 40 of 55 PageID #:1229
                                                                         YOUR RESPONSE MUST BE
Settlement Administrator
                                                                              RECEIVED BY
PO Box XXXX
Portland, OR 97208-XXXX                                                  <<MONTH DD+30, YYYY>>


<<MAIL ID>>

<<NAME1>>
<<NAME2>>
<<ADDRESS1>>
<<ADDRESS2>>
<<ADDRESS3>>
<<ADDRESS4>>
<<ADDRESS5>>                                                          <<MailDate (Month DD, YYYY)>>
<<CITY>> <<STATE>> <<ZIP CODE>>                            Tracking Number: <<TRACKING NUMBER>>
<<COUNTRY>>




                                          Deficient Claim Notice

         YOU ARE RECEIVING THIS NOTICE BECAUSE THE CLAIM FORM YOU
      SUBMITTED IS NOT COMPLETE, AND WE NEED ADDITIONAL INFORMATION.

Dear Claimant(s):

We received the Claim Form you submitted in connection with the Settlement in Griffith v. ContextMedia
Health, LLC, Case No. 16-2900. Upon review of your Claim Form(s), we have determined that it is deficient
for the following reason(s):

(CEL – Unmatched Cell Phone Number)

We have been unable to match the cell phone number on which you claim to have received the “CMH Tips”
to the records in the Settlement Class list. To assist us with validating your Claim, please provide either: 1)
the telephone number and name of the person on the cellular account who received the “CMH Tips” text
messages, keeping in mind that this may not be you, but may instead be someone who is or was on your
account; or 2) the name and telephone number for each person on your cellular account between July 28,
2015 and March 31, 2016, and we will attempt to match each number with the number on our list.

Your Deficient Claim Notice must be received by Month, DD, YYYY.

1) Telephone number and name of the person on the cellular account who actually received the text
   messages at the time

First name:                               MI:                       Last Name:
____________________________                       ____             _______________________________

Cell Phone Number
___-___-____

2) Name and telephone number for each person on a particular cellular account between July 28, 2015
   and March 31, 2016. If you need additional space, please include a separate page.
 Case:
First    1:16-cv-02900 Document #:
      name:                        101-2 Filed: 04/03/18
                                 MI:                  LastPage
                                                          Name:41 of 55 PageID #:1230

____________________________                    ____             _______________________________

Cell Phone Number

___-___-____

First name:                             MI:                      Last Name:

____________________________                    ____             _______________________________

Cell Phone Number

___-___-____

First name:                             MI:                      Last Name:

____________________________                    ____             _______________________________

Cell Phone Number

___-___-____

First name:                             MI:                      Last Name:

____________________________                    ____             _______________________________

Cell Phone Number

___-___-____

First name:                             MI:                      Last Name:

____________________________                    ____             _______________________________

Cell Phone Number

___-___-____



(SIG – Missing Signature)

The Claim Form you submitted did not include your signature. A complete and valid Claim Form requires
a signature.

Please include your name in both the Signature and Printed Name fields below and return this letter to the
Settlement Administrator.


Signature: ______________________________________                        Date: ____ - ____ - ____
                                                                                (MM-DD-YY)

Printed Name: ___________________________________
 Case:
Your     1:16-cv-02900
      completed     responseDocument
                              should be #:  101-2
                                         mailed    to Filed: 04/03/18Administrator
                                                       the Settlement    Page 42 of at 55 [Name]
                                                                                           PageIDSettlement
                                                                                                      #:1231
Administrator, P.O. Box XXXX, Portland, OR 97208-XXXX. Please read the directions in this letter
carefully. If your response is not complete or is not received by the date provided at the top right of the first
page of this letter, your incomplete Claim Form will be considered invalid for the reason(s) listed above,
and you will not be able to obtain Settlement Relief.

If you have any questions, please contact us by calling toll-free at 1-XXX-XXX-XXXX.

Regards,

Settlement Administrator
Case: 1:16-cv-02900 Document #: 101-2 Filed: 04/03/18 Page 43 of 55 PageID #:1232




                    EXHIBIT B
ase: __________________
     1:16-cv-02900 Document        #: 101-2
                        Settlement Claims    Filed: 04/03/18 Page 44 of 55 PageID #:12
                                          Administrator
                                                                                                             FIRST-CLASS MAIL
    PO Box _______                                                                                             U.S. POSTAGE
    [City], [State] [Zip]                                                                                           PAID
                                                                                                                Portland, OR
                                                                                                              PERMIT NO. 2882


    Important Notice About a Class Action Settlement
        Griffith v. ContextMedia Health, LLC
                   Case No. 16-2900
             United States District Court                          <<BARCODE>>
             Northern District of Illinois
       If you or someone on your                                   <<First1>> <<Last1>>
                                                                   <<CO>>
     account was sent one or more                                  <<Addr2>>
      Healthy Tips text messages                                   <<Addr1>>
      after you or they had texted                                 <<CITY, ST, ZIP>>
                                                                   <<COUNTRY>>
    back “STOP” or “STOP CMH
       TIPS,” you or they may be
     entitled to a payment from a
         class action Settlement




                                                Cash Payment Claim Form
     To make a Claim for a cash payment from the Settlement Fund, you must fill out, sign and return this card by Month Day, 2018,
     or you can submit your claim online by 11:59 p.m. PST on Month Day, 2018 at www.XXXXXXXXXXXXXXXX.com
     by inputting this unique identification number: <<CLAIM ID>>
     Cell phone number on which you received the “Healthy Tips” text messages:
                      -                    -
     Please have the primary user of the above telephone number when the text messages were received (approximately July
     28, 2015 to March 31, 2016) fill out and sign below.
     First Name:                                          MI:      Last Name:


     Current Address:


     City:                                                                              State:         ZIP Code:


     Current contact telephone number, if available:
                      -                    -
     Email Address:


     Signature:	                                                                                  Date (MM/DD/YY):



                                                         <<BARCODE>>
ase: L1:16-cv-02900
     egalN  otice
                    Document #: 101-2 Filed: 04/03/18 Page 45 of 55 PageID
                                                                      L  N #:12                                          egal   otice

     If you or someone on your account were sent one or more Healthy Tips text messages after
          you or they had texted back “STOP” or “STOP CMH TIPS,” you or they may be
                        entitled to a payment from a class action Settlement
        A $2.9 million Settlement has been reached in a class number of text messages included in all valid claims filed.
    action lawsuit about whether ContextMedia Health, LLC Each Settlement Class Member may only file one valid claim
    (“Defendant”) sent text messages to wireless telephone per unique affected cell phone number.
    numbers without the consent of the recipients in violation
    of the Telephone Consumer Protection Act, 47 U.S.C. §               How Can Class Members Get a Payment? Fill
    227 (“TCPA”). The Defendant denies the allegations in the out and return the included Claim Form by regular
    lawsuit, and the Court has not decided who is right.           U.S. mail, postmarked on or before Month, DD, 2018.
                                                                   You may also file a claim online at the website
        Who’s Included? The Defendant’s records show that (www.XXXXXXXXXXXXXXX.com). The deadline to file
    you or someone on your cell phone account is likely a a claim online is 11:59 p.m. PST on Month, Day, 2018.
    Settlement Class Member. The Class includes all persons
    within the United States to whose cellular telephone number         Your Rights May Be Affected. If you do not want to
    Defendant ContextMedia Health, LLC sent, or caused to be bound by the Settlement you must exclude yourself
    be sent, a text message, other than an opt-out confirmation by Month Day, 2018. If you do not exclude yourself you
    text message, as part of its “Healthy Tips” campaign, after will release claims you may have against the Defendant as
    Defendant’s records or the records of any entity with whom more fully described in the Settlement Agreement available
    Defendant contracted to provide text messaging services at the settlement website. If you stay in the Class you may
    indicate that the telephone number to which the text object to the Settlement by Month Day, 2018. The Detailed
    messages were sent had previously sent a text message with Notice available on the website listed below explains how to
    the single word “STOP” or the single phrase “STOP CMH exclude yourself or object. The Court will hold a hearing on
    TIPS,” regardless of capitalization.                           Month Day, 2018 to consider whether to approve the
        What Are the Settlement Terms? Defendants have Settlement and a request for attorneys’ fees and costs of up
    agreed to pay $2,900,000 to create a Settlement Fund to pay to 1/3 of the Settlement Fund, and a Class Representative
     IMPORTANT:
    cash  payments toDO   NOT
                       valid    ENLARGE,
                             claimants,       REDUCE
                                         attorney  fees, aOR  MOVEservice
                                                           service    the FIMaward
                                                                              and barcodes.    They are You
                                                                                    of up to $10,000.    only may
                                                                                                              valid appear
                                                                                                                    as printed!
                                                                                                                            at the
       Special
    award,     care
            costs,   must beand
                   expenses   taken  to ensure
                                  settlement    FIM and barcode
                                             administration.  The are  actualeither
                                                                   hearing,   size AND   placed
                                                                                    yourself      properly
                                                                                             or through anon  the mail
                                                                                                           attorney     piece
                                                                                                                     hired by you,
       to meet
    cash       both USPS
          payments   will beregulations
                             distributed and
                                          on aautomation   compatibility
                                                pro rata per             standards.
                                                              text but you   don’t have to. For more information, call or visit the
    message basis to valid claimants depending on the total Settlement website.

                    www.XXXXXXXXXXXXXXXX.com • 1-XXX-XXX-XXXX



                                                                                                               NO POSTAGE
                                                                                                               NECESSARY
                                                                                                                IF MAILED
                                                                                                                  IN THE
                                                                                                              UNITED STATES




                        BUSINESS REPLY MAIL
                        FIRST-CLASS MAIL           PERMIT NO 581          PORTLAND OR
                                    POSTAGE WILL BE PAID BY ADDRESSEE



                           MARTIN V WELLS
                           __________             FARGO
                                          Settlement  Claims Administrator
                           SETTLEMENT ADMINISTRATOR
                           PO Box ____
                           PO BOX 4349
                           [City],
                           PORTLAND[State]OR
                                           [Zip]97208-9635
    Case: 1:16-cv-02900 Document #: 101-2 Filed: 04/03/18 Page 46 of 55 PageID #:1235

              UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS

     If you or someone on your account was sent one
     or more Healthy Tips text messages after you or
      they had texted back “STOP” or “STOP CMH
     TIPS,” you or they may be entitled to a payment
              from a class action Settlement.
                A federal court directed this notice. This is not a solicitation from a lawyer.
•   A $2.9 million Settlement has been reached in a class action lawsuit about whether
    ContextMedia Health, LLC (“Defendant”) sent text messages to wireless telephone numbers
    without the consent of the recipients in violation of the Telephone Consumer Protection Act, 47
    U.S.C. § 227 (“TCPA”). The Defendant denies the allegations in the lawsuit, and the Court has
    not decided who is right.

•   The Settlement offers payments to Settlement Class Members who file valid claims. The amount
    of money you may be eligible for depends on the number of texts received after you texted
    “STOP” or “STOP CMH TIPS” (regardless of capitalization). Only one Claim may be
    submitted for each unique cell number.

•   Your legal rights are affected whether you act or do not act. Read this notice carefully.

                       YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
     SUBMIT A CLAIM FORM       Submit a Claim Form online or by mail seeking cash payment.

     EXCLUDE YOURSELF          Request to be excluded and get no benefits from the Settlement. This
                               is the only option that allows you to start or continue your own
                               lawsuit against the Defendant for the claims at issue in the
                               Settlement.

     OBJECT                    Write to the Court about why you do not like the Settlement.

     GO TO A HEARING           Ask to speak in Court about the fairness of the Settlement.

     DO NOTHING                Get no benefits. Give up any rights you might have to sue the
                               Defendant about the claims resolved by the Settlement.


•   These rights and options—and the deadlines to exercise them—are explained in this notice.

•   The Court in charge of this case still has to decide whether to approve the Settlement. If it does,
    and after any appeals are resolved, benefits will be distributed to those who submit qualifying
    claim forms. Please be patient.


                                  WHAT THIS NOTICE CONTAINS
       QUESTIONS? CALL 1-XXX-XXX-XXXX OR VISIT www.XXXXXXXXXXXXX.com
     Si desea recibir esta notificación en español, llámenos o visite nuestra página web.
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       2. What is this litigation about?
       3. What is the Telephone Consumer Protection Act?
       4. Why is this a class action?
       5. Why is there a Settlement?

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       8. I did not receive these text messages. Why did I receive notice?
       9. What does the Settlement provide?
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       QUESTIONS? CALL 1-XXX-XXX-XXXX OR VISIT www.XXXXXXXXXXXX.com
                                                                      2
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                                    BASIC INFORMATION
 1. Why is there a notice?

A Court authorized this notice because you have a right to know about the proposed Settlement of a
class action lawsuit known as Griffith v. ContextMedia Health, LLC d/b/a Outcome Health, Case No.
1:16-cv-02900, and about all of your options before the Court decides whether to give final approval
to the Settlement. This notice explains the lawsuit, the Settlement, and your legal rights.
Judge Elaine E. Bucklo of the United States District Court, Northern District of Illinois is overseeing
this case. The person who sued, Christy Griffith, is called the “Plaintiff.” ContextMedia Health, LLC
is the “Defendant.”

 2. What is this litigation about?

The lawsuit alleges that ContextMedia Health, LLC sent text messages to Plaintiff’s wireless
telephone number without prior express written consent and in violation of the Telephone Consumer
Protection Act, 47 U.S.C. § 227 (“TCPA”). The text messages at issue in the litigation were sent
from Defendant’s “Healthy Tips” service, through which Defendant would send to Class Members’
cell phones a text message containing a nutrition tip each day. Specifically, the lawsuit alleges that
the Defendant continued to send these text messages after Class Members had replied “STOP” or
“STOP CMH TIPS.” The lawsuit seeks actual and statutory damages under the TCPA on behalf of
the named Plaintiff, Christy Griffith, and a proposed class of all individuals in the United States who
received the texts.
The Defendant denies the allegations and disputes that it violated the TCPA in any respect, including
but not limited whether any exemptions or exceptions apply with respect to the TCPA, whether an
automatic telephone dialing system was used; whether there was a proper revocation in each instance
by each putative class member, etc.; or that Plaintiff and putative class members are entitled to any
relief.
The Plaintiff’s Third Amended Class Action Complaint, the Settlement Agreement, and other case-
related documents are posted on the website, www.XXXXXXXXXXXXXXXXXXXXX.com. The
Settlement resolves the lawsuit. The Court has not decided who is right.

 3. What is the Telephone Consumer Protection Act?

The Telephone Consumer Protection Act (commonly referred to as the “TCPA”) is a federal law that
restricts telephone solicitations and the use of automated telephone equipment. The Plaintiff here
alleged that the Defendant sent text messages to Settlement Class Members without their prior
written consent in violation of the TCPA.

 4. Why is this a class action?

In a class action, one or more people called “Class Representatives” (in this case, Plaintiff Christy
Griffith) sue on behalf of themselves and other people with similar claims. Together, all the people
with similar claims (except those who exclude themselves) are members of a “Settlement Class.”


        QUESTIONS? CALL 1-XXX-XXX-XXXX OR VISIT www.XXXXXXXXXXXX.com
                                                  3
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 5. Why is there a Settlement?

The Court has not decided in favor of the Plaintiff or Defendant. Instead, both sides have agreed to
the Settlement. By agreeing to the Settlement, the Parties avoid the costs and uncertainty of a trial,
and if the Settlement is approved by the Court, Settlement Class Members will receive the benefits
described in this notice. The proposed Settlement does not mean that any law was broken or that the
Defendant did anything wrong. The Defendant denies all legal claims in this case. Plaintiff and her
lawyers think the proposed Settlement is best for everyone who is affected.

                          WHO IS PART OF THE SETTLEMENT
 6. Who is included in the Settlement?

The Settlement includes all persons within the United States to whose cellular telephone number
Defendant ContextMedia Health, LLC sent, or caused to be sent, a text message, other than an opt-
out confirmation text message, as part of its “Healthy Tips” campaign, after Defendant’s records or
the records of any entity with whom Defendant contracted to provide text messaging services indicate
that the telephone number to which the text messages were sent had previously sent a text message
with the single word “STOP” or the single phrase “STOP CMH TIPS,” regardless of capitalization.
These people are called the “Settlement Class” or “Settlement Class Members.”
When capitalized in this notice, the term “Texts” means: outbound texts made by ContextMedia, or
on its behalf, as part of its “Healthy Tips” campaign, sent to Settlement Class Members as described
above.

 7. What if I am not sure whether I am included in the Settlement?

If you are not sure whether you are in the Settlement Class or have any other questions about the
Settlement, visit the settlement website at www.XXXXXXXXXXXXXXX.com.You may also call
the toll-free number, 1-XXX-XXX-XXXX. You also may send questions to the Settlement
Administrator at XXXXXXXXXXXXXXX Settlement Administrator, PO Box XXXX, Portland, OR
97XXX-XXXX.


 8. I did not receive these text messages. Why did I receive notice?

The only information the Parties had regarding who was sent the Texts was the telephone numbers to
which the Texts were sent. Accordingly, Class Counsel issued subpoenas to carriers to obtain the
name and address associated with the phone numbers to which the Texts were sent. However, carriers
often only know the identity of the account holder associated with a telephone number, rather than
the primary user of that telephone number. As such, if you received notice but do not recall receiving
these text messages, please ask anyone whose telephone number was on your account between July
28, 2015 and March 31, 2016 whether they recall receiving these messages. If so, please have that
person fill out the claim form.

                               THE SETTLEMENT BENEFITS
        QUESTIONS? CALL 1-XXX-XXX-XXXX OR VISIT www.XXXXXXXXXXXX.com
                                                 4
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 9. What does the Settlement provide?

The Defendant has agreed to pay or cause to be paid $2,900,000 to create a “Settlement Fund.” The
Settlement Fund will be used to pay approved Claims and all Settlement Costs (an incentive payment
to the Class Representative, any awarded attorneys’ fees and costs, and any costs associated with the
administration of this settlement). The cash payments will be distributed on a pro rata per text
message basis to valid claimants depending on the total number of text messages included in all valid
claims filed. Each Settlement Class Member may only file one valid claim per unique affected cell
phone number.
 10. How much is each Claim worth?

The amount paid to each valid Claimant will depend on the total number of Texts included in all
valid Claims and will be determined by the following formula:

($2.9 million Settlement Fund – Settlement Costs) ÷ (Total Number of Texts Sent to Claiming Class
Members) = Cash Award Per Text.

For example, if there is $2,000,000 in the Settlement Fund after Settlement Costs, and there are 1,000
Settlement Class Members who make valid and timely claims, whose total Texts equaled 25,000
Texts, the per-Text pro rata share would be $80 per Text (i.e. $2,000,000 ÷ 25,000). So, if one of the
1,000 Settlement Class Member who made a valid and timely claim had received 20 Texts, that
Settlement Class Member would receive a payment of $1,600 (i.e. $72 X 20).

The numbers above are used to show how the value of each Claim will be calculated. The final Cash
Award Per Text will depend on the number of Texts included in all valid Claims and could be more
or less than the example shown above.

 11. How do I file a claim?

If you qualify for a cash payment you must complete and submit a valid Claim Form. You can file
your Claim Form online at www.XXXXXXXXXXXXXXX.com. The deadline to file a claim online
or via email is 11:59 p.m. PST on Month Day, 2018.
You may also file your Claim Form via regular mail. Claim Forms submitted by mail must be
postmarked on or before Month Day, 2018 to:
                               _____________ Settlement Administrator
                                           PO Box XXXX
                                    Portland, OR 97XXX-XXXX
The Claim Form will ask you to provide your 1) name; 2) current address; 3) cell phone number on
which you received Text(s) from ContextMedia; 4) current contact telephone number, if available;
and 5) contact email address, if available.
No matter which method you choose to file your Claim Form, please read the Claim Form carefully
and provide all the information required. Only one Claim Form per unique cell phone number
included in the Class may be submitted.


        QUESTIONS? CALL 1-XXX-XXX-XXXX OR VISIT www.XXXXXXXXXXXX.com
                                                 5
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 12. When will I receive my payment?

Payments to valid Class Members will be made only after the Court grants “final approval” to the
Settlement and after any appeals are resolved (see “The Court’s Final Approval Hearing” below). If
there are appeals, resolving them can take time. Please be patient.

                 EXCLUDING YOURSELF FROM THE SETTLEMENT
If you do not want benefits from the Settlement, and you want to keep any right you might have to
sue the Defendant about the issues in this case, then you must take steps to get out of the Settlement.
This is called excluding yourself or “opting out” of the Settlement Class.

 13. How do I get out of the Settlement?

To exclude yourself from the Settlement, you must send a letter or other written document by mail to:
                                  __________ Settlement Administrator
                                            PO Box XXXX
                                     Portland, OR 97XXX-XXXX
Your request to be excluded from the Settlement must be personally signed by you, include your full
name, address, telephone number, and the telephone number(s) texted by ContextMedia (if different)
and contain a statement that indicates your desire to be “excluded from the Settlement Agreement.”
Your exclusion request must be postmarked no later than Month Day, 2018. You cannot ask to be
excluded on the phone, by email, or at the website.
You may opt out of the Settlement Class only for yourself. So-called “mass” or “class” opt-outs filed
by third parties on behalf of a “mass” or “class” of Settlement Class Members, when not signed by
each Settlement Class Member, will not be valid.

 14. If I do not exclude myself, can I sue the Defendant for the same thing later?

No. Unless you exclude yourself, you give up any right you might have to sue the Defendant for
legal claims that the Settlement resolves. You must exclude yourself from the Settlement Class in
order to try to maintain your own lawsuit. If you start your own lawsuit, you will have to hire your
own lawyer, and you will have to prove your claims.

 15. What am I giving up to stay in the Settlement Class?5

Unless you exclude yourself from the Settlement, you cannot sue or be part of any other lawsuit
against the Defendant about the issues in this case, including any existing litigation, arbitration, or
proceeding. Unless you exclude yourself, all of the decisions and judgments by the Court will bind
you. If you file a Claim Form for benefits or do nothing at all, you will be releasing the Defendant
from all of the claims described and identified in Section XIII of the Settlement Agreement.
The Settlement Agreement is available at www.XXXXXXXXXXXXXXX.com. The Settlement
Agreement provides more detail regarding the release and describes the released claims with specific
descriptions in necessary, accurate legal terminology, so read it carefully. You can talk to the law

        QUESTIONS? CALL 1-XXX-XXX-XXXX OR VISIT www.XXXXXXXXXXXX.com
                                                  6
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firms representing the Class listed in Question 16 for free, or you can, at your own expense, talk to
your own lawyer if you have any questions about the released claims or what they mean.

 16. If I exclude myself, can I still get a payment?

No. You will not get a payment from the Settlement Fund if you exclude yourself from the
Settlement.

                          THE LAWYERS REPRESENTING YOU
 17. Do I have a lawyer in the case?

The Court has appointed The Glapion Law Firm, LLC and Tycko & Zavareei LLP as “Class
Counsel” to represent all members of the Settlement Class.

You will not be charged for these lawyers. If you want to be represented by another lawyer, you may
hire one to appear in Court for you at your own expense.

 18. How will the lawyers be paid?

Class Counsel intend to request up to 1/3 of the Settlement Fund for attorneys’ fees and expenses.
The fees and expenses awarded by the Court will be paid out of the Settlement Fund. The Court will
decide the amount of fees and expenses to award.
Class Counsel also will request an incentive payment, not to exceed $10,000, for the Class
Representative for the time and effort she has personally invested on behalf of the Settlement Class.

                           OBJECTING TO THE SETTLEMENT
 19. How do I tell the Court if I do not like the Settlement?

If you are a Settlement Class Member (and do not exclude yourself from the Settlement Class), you
can object to any part of the Settlement. To object, you must submit a letter or other written
document that includes the following:
   •   Your full name, address and telephone number;
   •   The telephone number(s) texted by ContextMedia (if different);
   •   The reasons for your objection;
   •   The name of your lawyer for the objection (if any);
   •   Information about other objections you or your lawyer have made in other class action cases
       in the last four (4) years; and
   •   Whether you intend to appear at the Final Approval Hearing (see below) on your own behalf
       or through your lawyer.
You must file your objection with the Court (using the Court’s electronic filing system or in any
manner in which the Court accepts filings) so that it is received by Month Day, 2018. Any
documents supporting your objection must also be attached to the objection.
       QUESTIONS? CALL 1-XXX-XXX-XXXX OR VISIT www.XXXXXXXXXXXX.com
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 20. What is the difference between objecting and asking to be excluded?

Objecting is simply telling the Court that you do not like something about the Settlement. You can
object to the Settlement only if you do not exclude yourself. Excluding yourself is telling the Court
that you do not want to be part of the Settlement. If you exclude yourself, you have no basis to object
to the Settlement because it no longer affects you.

                     THE COURT’S FINAL APPROVAL HEARING
The Court will hold a hearing to decide whether to approve the Settlement and any requests for fees
and expenses (“Final Approval Hearing”).

 21. When and where will the Court decide whether to approve the Settlement?

The Court has scheduled a Fairness Hearing on Month Day, 2018 at __:__ _.m., at the United States
District Court for the Northern District of Illinois, Everett McKinley Dirksen United States
Courthouse, 219 South Dearborn Street, Chicago, IL 60604. The hearing may be moved to a
different date or time without additional notice, so it is a good idea to check
www.XXXXXXXXXXXXXXXXX.com for updates. At this hearing, the Court will consider
whether the Settlement is fair, reasonable, and adequate. The Court will also consider the requests by
Class Counsel for attorneys’ fees and expenses and for the incentive payment to the Class
Representative. If there are objections, the Court will consider them at that time. After the hearing,
the Court will decide whether to approve the Settlement. It is unknown how long these decisions will
take.

 22. Do I have to attend the hearing?

No. Class Counsel will answer any questions the Court may have. But, you are welcome to attend
the hearing at your own expense. If you send an objection, you do not have to come to Court to talk
about it. As long as you submitted your written objection on time and it complies with the other
requirements set forth above, the Court will consider it. You also may pay your own lawyer to attend
the hearing, but it is not necessary.

 23. May I speak at the hearing?

You may ask the Court for permission to speak at the Final Approval Hearing. To do so, your filed
objection must include a statement of whether you intend to appear at the Final Approval Hearing
(See Question 18 above).
You cannot speak at the hearing if you exclude yourself from the Settlement.

                                     IF YOU DO NOTHING
 24. What happens if I do nothing at all?

If you are a Class Member and do nothing, you will not get benefits from the Settlement. And, unless
you exclude yourself, you will be bound by the judgment entered by the Court. This means you will
        QUESTIONS? CALL 1-XXX-XXX-XXXX OR VISIT www.XXXXXXXXXXXX.com
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not be able to start a lawsuit, continue with a lawsuit, or be part of any other lawsuit or proceeding
against the Defendant about the statements and claims at issue in this case.

                             GETTING MORE INFORMATION
 25. How do I get more information?

This notice summarizes the proposed Settlement. More details are in the Settlement Agreement. For
a complete, definitive statement of the Settlement terms, refer to the Settlement Agreement at
www.XXXXXXXXXXXXXXXX.com. You may also write with questions to the Settlement
Administrator at ____________ Settlement Administrator, PO Box XXXX, Portland, OR 97XXX-
XXXX, or call the toll-free number, 1-XXX-XXX-XXXX.




        QUESTIONS? CALL 1-XXX-XXX-XXXX OR VISIT www.XXXXXXXXXXXX.com
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